Case 2:05-cr-00157-RHW   ECF No. 72   filed 04/17/06   PageID.188 Page 1 of 6
Case 2:05-cr-00157-RHW   ECF No. 72   filed 04/17/06   PageID.189 Page 2 of 6
Case 2:05-cr-00157-RHW   ECF No. 72   filed 04/17/06   PageID.190 Page 3 of 6
Case 2:05-cr-00157-RHW   ECF No. 72   filed 04/17/06   PageID.191 Page 4 of 6
Case 2:05-cr-00157-RHW   ECF No. 72   filed 04/17/06   PageID.192 Page 5 of 6
Case 2:05-cr-00157-RHW   ECF No. 72   filed 04/17/06   PageID.193 Page 6 of 6
